      Case:12-30113-SDB Doc#:543 Filed:04/26/14 Entered:04/27/14 01:13:44                          Page:1 of 4
                                       United States Bankruptcy Court
                                       Southern District of Georgia
In re:                                                                                   Case No. 12-30113-SDB
Saraland, LLLP                                                                           Chapter 11
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 113J-3           User: jpayton                 Page 1 of 3                   Date Rcvd: Apr 24, 2014
                               Form ID: pdf004               Total Noticed: 34


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 26, 2014.
db            #Saraland, LLLP,    Post Office Box 4116,    Eastman, GA 31023-4116
aty           +Merrill & Stone, LLC,    Post Office Box 129,    Swainsboro, GA 30401-0129
aty           +Todd Boudreaux,    Shepard Plunkett Hamilton Boudreaux,     7013 Evans Town Center, Ste 303,
                Evans, GA 30809-4215
cr             AgGeorgia Farm Credit, ACA,     c/o John T. McGoldrick, Jr.,     P O Box 1606,
                Macon, GA 31202-1606
cr             B & S Air, Inc.,    c/o David A. Garland,    Moore, Clarke, DuVall & Rodgers, P.C.,
                P. O. Drawer 71727,    Albany, GA 31708-1727
cr          ++BANK OF EASTMAN,     P O BOX 909,    EASTMAN GA 31023-0909
              (address filed with court: Bank Of Eastman,      BANK OF EASTMAN,     P.O. Box 909,    130 Oak Street,
                Eastman, GA 31023)
cr             COLONY BANK,    P.O. Box 1606,    Macon, GA 31202-1606
intp          +Carter Clements,    c/o Mark A. Cleary,    1223 George C. Wilson Drive,     Augusta, GA 30909-4502
cr             F&W Forestry Services, Inc.,     c/o R. Lee Brown, Jr.,    Moore, Clarke, DuVall & Rodgers, P.C.,
                PO Drawer 71727,    Albany, GA 31708-1727
op            +Jon A. Levis,    Merrill and Stone LLC,    P.O. Box 129,    Swainsboro, GA 30401-0129
intp           Lister Harrell,    P.O. Box 10,    Cadwell, GA 31009-0010
intp          +Lister Harrell,    c/o Roy Rankin,    415 North Tift Avenue,     Tifton, GA 31794-4465
intp          +Specialty Retailers, Inc.,     c/o Locke Lord LLP,    Terminus 200, Suite 1200,
                3333 Piedmont Road, NE,    Atlanta, GA 30305-1724
5748276        AgGEORGIA FARM CREDIT, ACA,     c/o John T. McGoldrick, Jr.,     Martin Snow, LLP,    P.O. Box 1606,
                Macon, Georgia 31202-1606
5647716        AgGeorgia Farm Credit ACA,     Post Office Box 1820,    Perry, GA 31069-1820
5753729        B & S Air, Inc.,    c/o David A. Garland, Esq.,     Moore, Clarke, DuVall & Rodgers, P.C.,
                P. O. Drawer 71727,    Albany, GA 31708-1727
5714907        B&S Air, Inc.,    c/o James H. Edge, III,    P. O. Drawer 71727,     Albany, GA 31708-1727
5647717       +Bank of Eastman,    c/o Daniel M. King, Jr.,    P.O. Box 4329,     Dublin, GA 31040-4329
5749962        COLONY BANK,    C/O JOHN T. McGOLDRICK, JR.,    MARTIN SNOW, LLP,     P.O. BOX 1606,
                MACON, GEORGIA 31202-1606
5647720       +Dodge County Tax Commissoner,     Post Office Box 668,    Eastman, GA 31023-0668
5714908        F&W Forestry Services, Inc.,     c/o David A. Garland,    P. O. Drawer 71727,
                Albany, GA 31708-1727
6110563       +J. Nevin Smith,    402 Newnan Street,    Carrollton, GA 30117-3111
6177839        Lister Harrell,    c/o Dodge County Jail,    5402 Anson Avenue,     Eastman, GA 31023
6224497        Lister Harrell,    c/o Dodge LEL - F Pod,    85 Ind Blvd,    Eastman, GA 31023
6177838       +Lister Harrell,    c/o Dodge County Jail,    85 Industrial Blvd.,     Eastman, GA 31023-7110
6177348     #+Lister Harrell,     369 Ocmulgee Church Rd.,    Eastman, GA 31023-2859
5647723        Miller & Martin, PLLC,    832 Georgia Avenue, Suite 1000,      Chattanooga, TN 37402-2289
5990843       +Royal F. Rankin,    Rankin & Associates, P.C.,     Architects,    415 Tift Avenue,
                Tifton, GA 31794-4465
5647726       +Sligh Environmental Consultants, Inc.,     Suite 200B,    31 Park of Commerce Way,
                Savannah, GA 31405-7421
5714910       +United States Environmental,     Protection Agency,    c/o Martin F. McDermott,    P.O. Box 7411,
                Washington, DC 20044-7411

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ex           +E-mail/Text: jco@klosinski.com Apr 24 2014 18:47:21     James C. Overstreet, Jr.,
               Klosinski Overstreet, LLP,   #7 George C Wilson Ct,   Augusta, GA 30909-6593
5647719      +E-mail/Text: pld@colonybank.com Apr 24 2014 18:46:50     Colony Bank,   Post Office Box 989,
               Fitigerald, GA 31750-0989
5647718      +E-mail/Text: pld@colonybank.com Apr 24 2014 18:46:50     Colony Bank,   Post Office Box 989,
               Fitzgerald, GA 31750-0989
5674928      +E-mail/Text: cio.bncmail@irs.gov Apr 24 2014 18:46:53     INTERNAL REVENUE SERVICE,
               P O BOX 7346,   2970 MARKET STREET,   PHILADELPHIA, PA 19104-5002
                                                                                            TOTAL: 4

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
aty           Jenna Blackwell Matson
intp          John Waylon Terry
r             Louie Curry
intp          Mike Cosett
auc           Rowell Auctions, Inc.
intp          Tammy Freemont
intp          Tori Redmon
5647725       Paradise Farms, Inc.
5647727       Stag Stores
5647728       Wade Bowen
aty*         +Jon A. Levis,   Merrill & Stone, LLC,   P O Box 129,   Swainsboro, GA 30401-0129
intp*         Paradise Farms, Inc.,   Post Office Box 4116,   Eastman, GA 31023-4116
       Case:12-30113-SDB Doc#:543 Filed:04/26/14 Entered:04/27/14 01:13:44                                             Page:2 of 4


District/off: 113J-3                  User: jpayton                      Page 2 of 3                          Date Rcvd: Apr 24, 2014
                                      Form ID: pdf004                    Total Noticed: 34

5647724      ##+Paradise Farms, Inc.,           P.O. Box 4116,       Eastman, GA 31023-4116
                                                                                                                   TOTALS: 10, * 2, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 26, 2014                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 24, 2014 at the address(es) listed below:
              Daniel M. King, Jr.    on behalf of Creditor    Bank Of Eastman notices@kinglawgroup.net
              David A. Garland    on behalf of Creditor    F&W Forestry Services, Inc. dgarland@mcdr-law.com,
               jmoore@mcdr-law.com
              David A. Garland    on behalf of Creditor    B & S Air, Inc. dgarland@mcdr-law.com,
               jmoore@mcdr-law.com
              Edward B. Claxton, III    on behalf of Interested Party    Plantation Management, Inc.
               ebcatty@bellsouth.net, ebclaw2@bellsouth.net
              H. Lehman Franklin, Jr.    on behalf of Defendant    Sajahtera, Inc. hlfpcbankruptcy@hotmail.com,
               hlfpc.br.email@gmail.com
              J. Nevin Smith    on behalf of Interested Party Carter Clements cstembridge@smithconerly.com
              J. Nevin Smith    on behalf of Interested Party    Paradise Farms, Inc. cstembridge@smithconerly.com
              J. Nevin Smith    on behalf of Interested Party Lister Harrell cstembridge@smithconerly.com
              James C. Overstreet, Jr.    on behalf of Examiner James C. Overstreet, Jr. jco@klosinski.com,
               jco@ecf.inforuptcy.com
              James C. Overstreet, Jr., Trustee    on behalf of Examiner James C. Overstreet, Jr.
               jco@klosinski.com, joverstreet@ecf.epiqsystems.com;jco-trustee@ecf.inforuptcy.com
              James L. Drake, Jr.    jdrake7@bellsouth.net,
               jdrake@ecf.epiqsystems.com;sharon.drakelaw@att.net;sls.drakelaw@att.net
              James L. Drake, Jr.    on behalf of Interested Party James L. Drake, Jr. jdrake7@bellsouth.net,
               sls.drakelaw@att.net;ss.drakelaw@att.net;sharon.drakelaw@att.net
              Jeffrey S Banks    on behalf of Defendant    Beardon Oil banksnriedel@hotmail.com
              Jenna Blackwell Matson    on behalf of Plaintiff Todd Boudreaux, Trustee
               jmatson@shepardplunkett.com, kleahey@shepardplunkett.com
              Jenna Blackwell Matson-CMW    on behalf of Plaintiff Todd Boudreaux, Trustee
               jmatson@shepardplunkett.com, cwoodward@shepardplunkett.com
              Jenna Blackwell Matson-KML    on behalf of Plaintiff Todd Boudreaux, Trustee
               jmatson@shepardplunkett.com, cwoodward@shepardplunkett.com
              Jenna Blackwell Matson-KML    on behalf of Attorney Jenna Blackwell Matson
               jmatson@shepardplunkett.com, cwoodward@shepardplunkett.com
              Jesse C. Stone    on behalf of Other Professional Jesse C. Stone bkymail@merrillstonehamilton.com
              John T. McGoldrick, Jr.    on behalf of Creditor    AgGeorgia Farm Credit, ACA
               jtmcgoldrick@martinsnow.com
              John T. McGoldrick, Jr.    on behalf of Creditor    COLONY BANK jtmcgoldrick@martinsnow.com
              Jon A. Levis    on behalf of Other Professional Jon A. Levis bkymail@merrillstonehamilton.com
              Kimberly S. Ward    on behalf of Defendant    Sajahtera, Inc. hlfpcbankruptcy@hotmail.com,
               hlfpc.br.email@gmail.com
              Mark A. Cleary    on behalf of Interested Party Carter Clements eunicebailey@knology.net
              Matthew Blackwell Crowder    on behalf of Creditor    Bank Of Eastman mattcrowder@kinglawgroup.net
              Matthew E. Mills    on behalf of U. S. Trustee    Office of the U. S. Trustee
               ustpregion21.sv.ecf@usdoj.gov
              Office of the U. S. Trustee    Ustpregion21.sv.ecf@usdoj.gov
              Rickie Lee Brown, Jr    on behalf of Creditor    F&W Forestry Services, Inc. lbrown@mcdr-law.com
              Rickie Lee Brown, Jr    on behalf of Creditor    B & S Air, Inc. lbrown@mcdr-law.com
              Samantha Lucie Tzoberi    on behalf of Interested Party    Specialty Retailers, Inc.
               stzoberi@lockelord.com
     Case:12-30113-SDB Doc#:543 Filed:04/26/14 Entered:04/27/14 01:13:44                     Page:3 of 4


District/off: 113J-3         User: jpayton               Page 3 of 3                  Date Rcvd: Apr 24, 2014
                             Form ID: pdf004             Total Noticed: 34


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Todd Boudreaux    on behalf of Plaintiff Todd Boudreaux, Trustee tboudreaux@shepardplunkett.com,
               cwoodward@shepardplunkett.com
              Todd Boudreaux, Trustee    on behalf of Attorney Todd Boudreaux tboudreaux@shepardplunkett.com,
               GA13@ecfcbis.com;cwoodward@shepardplunkett.com
              Todd Boudreaux, Trustee    tboudreaux@shepardplunkett.com,
               GA13@ecfcbis.com;cwoodward@shepardplunkett.com
              Todd Boudreaux, Trustee    on behalf of Plaintiff Todd Boudreaux, Trustee
               tboudreaux@shepardplunkett.com, GA13@ecfcbis.com;cwoodward@shepardplunkett.com
              Todd Boudreaux, Trustee    on behalf of Trustee Todd Boudreaux, Trustee
               tboudreaux@shepardplunkett.com, GA13@ecfcbis.com;cwoodward@shepardplunkett.com
              Todd Boudreaux-CMW    on behalf of Plaintiff Todd Boudreaux, Trustee
               tboudreaux@shepardplunkett.com, cwoodward@shepardplunkett.com
              Todd Boudreaux-KML    on behalf of Trustee Todd Boudreaux, Trustee
               tboudreaux@shepardplunkett.com, cwoodward@shepardplunkett.com
              Todd Boudreaux-KML    on behalf of Attorney Todd Boudreaux tboudreaux@shepardplunkett.com,
               cwoodward@shepardplunkett.com
                                                                                            TOTAL: 37
                                                                FILED
Case:12-30113-SDB Doc#:543 Filed:04/26/14 Entered:04/27/14 01:13:44 Page:4 of 4
                                                          Lucinda
                                                             SamuelB.L.
                                                                      Rauback,  Clerk
                                                                        Kay, Clerk
                                                        United States Bankruptcy Court
                                                               Augusta, Georgia
                                                        By jpayton at 2:30
                                                                        . pm, Apr 24, 2014
